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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                               )
REPUBLICAN NATIONAL                            )
COMMITTEE,                                     )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )       Case No. 1:22-cv-00659-TJK
                                               )
NANCY PELOSI, et al.,                          )
                                               )
                Defendants.                    )
                                               )


               DECLARATION OF CHRISTOPHER MURRAY IN SUPPORT
              OF PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION
       I, Christopher Murray, hereby declare as follows under the penalty of perjury.

       1.       The following statements are based on my personal knowledge, and if called to

testify I could swear competently thereto.

       2.       I am over 18 years of age and of sound mind.

       3.       I am a citizen of the United States.

       4.       I received the degree of Bachelor of Arts in Political Science and Philosophy from

the University of Washington and Juris Doctor from Harvard Law School.

       5.       I am a shareholder in the law firm of Brownstein Hyatt Farber Schreck, LLP. I am

an attorney licensed to practice in Colorado and admitted to practice before numerous federal

trial and appellate courts, including the U.S. District Court for the District of Columbia.

       6.       I am lead counsel for Plaintiff Republican National Committee (“RNC”) in

Republican National Committee v. Pelosi, et al., No. 1:22-cv-00659-TJK (D.D.C.) (the

“Lawsuit”), currently pending in the U.S. District Court for the District of Columbia.

       7.       After being retained by the RNC, I contacted counsel for Salesforce.com, Inc.

(“Salesforce”) by telephone. I informed Salesforce’s counsel that I had been retained to evaluate

a potential legal challenge to the subpoena issued to Salesforce by the U.S. House Select
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Committee to Investigate the January 6th Attack on the U.S. Capitol (the “Select Committee”) on

February 23, 2022 (the “Salesforce Subpoena”). I asked that Salesforce consider waiting to

produce any materials responsive to the Salesforce Subpoena until the RNC evaluated a potential

legal challenge. I also asked that, in the event the RNC filed a lawsuit challenging the Select

Committee’s authority to subpoena the materials demanded, Salesforce continue to hold any

production until that lawsuit had been resolved on the merits.

       8.       Salesforce’s counsel stated that Salesforce was unable to produce any documents

before the March 9, 2022, 10:00am deadline for production under the Salesforce Subpoena
because it was still collecting documents potentially responsive to the Subpoena. Salesforce’s

counsel agreed that Salesforce would not produce any documents during the pendency of any

RNC legal action challenging the authority of the Select Committee to subpoena the materials

demanded so long as the RNC notified Salesforce’s counsel of the suit before its deadline to

comply with the Salesforce Subpoena.

       9.       At 8:30am (EST) on March 9, 2022, I informed Salesforce’s counsel that the

RNC would be filing a legal action challenging the authority of the Select Committee to

subpoena the materials demanded by the Salesforce Subpoena. The RNC filed its initial

complaint the same day.

       10.      Late in the afternoon on March 10, 2022, I received a telephone call from

Salesforce’s counsel informing me that after discussions with staff for the Select Committee

during which Select Committee staff took the position that the RNC’s initiation of this lawsuit

was insufficient to relieve Salesforce of its production obligations, Salesforce was no longer

willing to withhold production during the pendency of the lawsuit.

       11.      Salesforce’s counsel further informed me that the Select Committee had extended

Salesforce’s deadline for production to Wednesday, March 16, 2022, and had rescheduled

Salesforce’s deposition for Wednesday, March 23, 2022.




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       12.     Salesforce's counsel represented that absent a pending motion for emergency

preliminary relief in the Lawsuit, Salesforce would begin to produce documents to the Select

Committee in compliance with the Salesforce Subpoena on Wednesday, March 16, 2022.

       I declare under the penalty of perjury under the laws of the United States, 28 U.S.C. §

1746, that the foregoing statements are true and correct.



       Signed this 15th day of March, 2022.



                                      Christopher Murray




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